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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HARRY PERSAUD,

                                  Plaintiff,                    20 Civ. 5599 (MKV) (SLC)
                      -against-                        ORDER OF SERVICE AND SCHEDULING
                                                                    ORDER
 COMMISSIONER OF SOCIAL SECURITY,

                                  Defendant.

Sarah L. Cave, United States Magistrate Judge:

       The Clerk of Court shall notify the U.S. Attorney’s Office for the Southern District of New

York of the filing of this pro se case, brought under 42 U.S.C. § 405(g), for which the filing fee has

been waived. (See ECF No. 3).

       In accordance with the Standing Order “Motions for Judgment on the Pleadings in Social

Security Cases,” 16-MC-0171 (Apr. 20, 2016):

       Within 90 days of the date of this order, that is, by Monday, February 1, 2021, the

Commissioner must serve and file the Electronic Certified Administrative Record (e-CAR), which

will constitute the Commissioner’s answer, or otherwise move against the complaint.

       If the Commissioner wishes to file a motion for judgment on the pleadings, the

Commissioner must do so within 60 days of the date on which the e-CAR was filed. The motion

must contain a full recitation of the relevant facts and a full description of the underlying

administrative proceeding.

       The plaintiff must file an answering brief within 60 days of the filing of the Commissioner’s

motion. The Commissioner may file a reply within 21 days thereafter.




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       Memoranda in support of or in opposition to any dispositive motion may not exceed 25

pages in length; reply memoranda may not exceed ten pages in length. A party seeking to exceed

these page limitations must apply to the Court for leave to do so, with copies to all counsel, no

fewer than seven days before the date on which the memorandum is due.

SO ORDERED.

 Dated:   November 2, 2020
          New York, New York

                                                                 SARAH L. CAVE
                                                         United States Magistrate Judge




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